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               Exhibit A
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                                                                FILED
                                                            Secretary of State
                                                           State of Washington
                                                          Date Filed: 02/11/2022
                                                        Effective Date: 02/11/2022
                                                          UBI No: 604 465 046




                                                                      Work Order #: 2022021000102013 - 1
                                                                               Received Date: 02/11/2022
                             Page: 1 of 15                                     Amount Received: $240.00
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